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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-09-029 (1, 5, 6, 15)
                                                 §
                                                 §
SUZANNE VOELKER                                  §
GERARDO VILLEGAS                                 §
MARYLYN MANN                                     §
JOSE ANGEL RAMIREZ                               §

                                          ORDER

       The government filed an unopposed motion for continuance, (Docket Entry Nos. 286,

287, 289 and 290). The court finds that the interests of justice are served by granting this

continuance and that those interests outweigh the interests of the public and the defendants

in a speedy trial. The motion for continuance is GRANTED. The docket control order is

amended as follows:

       Motions are to be filed by:                   August 2, 2010
       Responses are to be filed by:                 August 16, 2010
       Pretrial conference is reset to:              August 23, 2010, at 8:45 a.m.
       Jury trial and selection are reset to:        August 30, 2010, at 9:00 a.m.


              SIGNED on May 14, 2010, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
